_ Case 3:19-cr-01997-WQH Document 51 Filed 10/20/20 PagelD.230 Page 1 of 5

 

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case - | LED _ Ty

SRA

 

  
  
 
 

UNITED STATES DISTRICT COURT | oct 2 07020

Daneman

SOUTHERN DISTRICT OF CALIFORNIA CLERK St De ee SEI A
. SOUTHERN DISTRICT © We: EPUTY
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv. (For Offenses Committed On or After November 1, 1987).

ANGEL RIOS-EDEZA (1)

 

 

 

Case Number: 3:19-CR-01997-WQH

Frederick Matthew Carroll

. Defendant's Attorney
USM Number 85085-298
L] -
THE DEFENDANT;

L] pleaded guilty to count(s)

 

[J was found guilty on count(s) 1 of the Indictment
after a plea of not guilty,

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offensef{s):

 

Title and Section / Nature of Offense | Count
21:952,960 - Importation Of Heroin 1
The defendant is sentenced as provided in pages 2 through 5 of this judgment.

The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

L} The defendant has been found not guilty on count(s)

 

[1 Count(s) is dismissed on the motion of the United States.

 

X] Assessment: $100.00 imposed

[] =(JVTA Assessment: $

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
XI No fine C] Forfeiture pursuant to order filed , included herein.

IT IS ORDERED that the defendant must notify the United States ‘Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment.are fully paid. Lf ordered to pay restitution, the defendant must notify the court and United States Attorney of

any material change in the defendant’s economic circumstances.

October 13, 2020 Z

Date of Jmposition of Sentenc

 
 
   

_—
. WILLIAM Q. HX YS

UNITED STATES/MISTRICT JUDGE

 

 
Case 3:19-cr-01997-WQH Document 51 Filed 10/20/20 PagelD.231 Page 2 of5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANGEL RIOS-EDEZA (1) Judgment - Page 2 of 5
_CASE NUMBER: 3:19-CR-01997-WQH

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
One hundred and twenty months (120) months

Sentence imposed pursuant to Title 8 USC Section 1326(b).
The court makes the following recommendations to the Bureau of Prisons:
1. Incarceration in the Western Region as close to Southern CA as possible.

BO

_O __ The defendant is remanded to the custody of the United States Marshal.

L} The defendant must surrender to the United States Marshal for this district:
L! at A.M. — on

 

 

._ OU as notified by the United States Marshal.

The defendant must surrender for service of sentence at the institution designated by the Bureau of
Prisons:

CL! onor before
L1_ as notified by the United States Marshal.
as notified by the Probation or Pretrial Services Office.

RETURN
T have executed this judgment as follows:

Defendant delivered on’ to

at , with a certified copy of this judgment.

 

 

 

UNITED STATES MARSHAL

 

By DEPUTY UNITED STATES MARSHAL

3:19-CR-01997-WQH
Case 3:19-cr-01997-WQH Document 51 Filed 10/20/20 PagelD.232 Page 3of5

AO 245B (CASD Rey. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANGEL RIOS-EDEZA (1) __ Judgment - Page 3 of 5
CASENUMBER: —3:19-CR-01997-WQH

SUPERVISED RELEASE

Upon release from imprisonment, the defendant will be on supervised release for a term of:
Five (5) years

7.

MANDATORY CONDITIONS

- The defendant must not commit another federal, state or local crime.

The defendant must not unlawfully possess a controlled substance.
The defendant must not illegally possess a controlled substance. The defendant must refrain from any unlawful use of a
controlled substance. The defendant must submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter as determined by the court. Testing requirements will not exceed submission of more
than 4 drug tests per month during the term of supervision, unless otherwise ordered by the court.

[lThe above drug testing condition is suspended, based on the court's determination that the defendant poses a low

risk of future substance abuse. (check if applicable)

’ OThe defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing

a sentence of restitution. (check if applicable}

X]The defendant must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
LIThe defendant must comply with the requirements of the Sex Offender Registration and Notification Act (34 USC. §
20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
the location where the defendant resides, works, is a student, or was convicted of a qualifying offense. (check if

applicable)
LThe defendant must participate in an approved program for domestic violence. (check if applicable)

The defendant must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.

3:19-CR-01997-WQH

 
Case 3:19-cr-01997-WQH Document 51 Filed 10/20/20 PagelD.233 Page 4 of 5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANGEL RIOS-EDEZA (1) Judgment - Page 4 of 5
. CASE NUMBER: 3:19-CR-01997-WQH

STANDARD CONDITIONS OF SUPERVISION

As part of the defendant’s supervised release, the defendant must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for the defendant’s behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in the defendant’s conduct and condition.

1. The defendant must report to the probation office in the federal judicial district where they are authorized to reside within 72
hours of their release from imprisonment, unless the probation officer instructs the defendant to report to a different probation
office or within a different time frame.

2. After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
about how and when the defendant must report to the probation officer, and the defendant must report to the probation officer
-as instructed. ;

3. The defendant must not knowingly leave the federal judicial district where the defendant is authorized to reside without first
getting permission from the court or the probation officer.

4. The defendant must answer truthfully the questions asked by their probation officer.

5. The defendant must live at a place approved by the probation officer. If the defendant plans to change where they live or
_anything about their living arrangements (such as the people living with the defendant), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming: aware of a change or
expected change.

6. The defendant must allow the probation officer to visit them at any time at their home or elsewhere, and the defendant must
permit the probation officer to take any items prohibited by the conditions of their supervision that he or she observes in plain
view.

. 7. The defendant must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
excuses the defendant from doing so. If the defendant does not have full-time employment the defendant must try to find full-
time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change where the
defendant works or anything about their work (such as their position or their job responsibilities), the defendant must notify the
probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
due to unanticipated circumstances, the defendant must notify the probation officer within 72 hours of becoming aware of a
change or expected change.

8. The defendant must not communicate or interact with someone they know is engaged in criminal activity. If the defendant

knows someone has been convicted of a felony, they must not knowingly communicate or interact with that person without:

first getting the permission of the probation officer.
9. If the defendant is arrested or questioned by a law enforcement officer, the defendant must notify the probation officer within 72 hours.
10. The defendant must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (Le.,

anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such

as nunchakus or tasers),

11. The defendant must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court.

12. If the probation officer determines the defendant poses a risk to another person (including an organization), the probation
officer may require the defendant to notify the person about the risk and the defendant must comply with that instruction.
The probation officer may contact the person and confirm that the defendant notified the person about the risk,

13. The defendant must foliow the instructions of the probation officer related to the conditions of supervision.

3:19-CR-01997-WQH

 
Case 3:19-cr-01997-WQH Document 51 Filed 10/20/20 PagelD.234 Page 5 of 5

AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case

 

DEFENDANT: ANGEL RIOS-EDEZA (1) Judgment - Page 5 of 5 .
CASE NUMBER: 3:19-CR-01997-WQH

SPECIAL CONDITIONS OF SUPERVISION

1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
illegally and report to the probation officer within 24 hours of any reentry into the United States;
supervision waived upon deportation, exclusion, or voluntary departure.

i

3:19-CR-01997-WQH

 

 
